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  9 Limited, and TCT Mobile (US) Inc.
 10                      UNITED STATES DISTRICT COURT
 11    FOR THE CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
 12
    TCL COMMUNICATION                       Case No. SACV14−00341 JVS (DFMx)
 13 TECHNOLOGY HOLDINGS, LTD.,              Consolidated with CV15–02370
    et al.
 14
                Plaintiffs,                 PLAINTIFFS’ DIRECT
 15        v.                               EXAMINATION BY
 16 TELEFONAKTIEBOLAGET LM                  DECLARATION
    ERICSSON, et al.                        FOR EXPERT WITNESS
 17                                         DR. ZHI DING
                     Defendants.
 18 _______________________________
 19                                         Place: Courtroom 10C
    TELEFONAKTIEBOLAGET LM
 20 ERICSSON, et al.,                       Before Hon. James V. Selna
 21                    Plaintiffs,          Discovery Cut-Off: May 23, 2016
 22        v.                               Pre-Trial Conf.: Jan. 30, 2017
                                            Trial: Feb. 14, 2017
 23 TCL COMMUNICATION
    TECHNOLOGY HOLDINGS, LTD.,
 24
    et al.,
 25             Defendants.
 26
 27
 28

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  1                         DECLARATION OF DR. ZHI DING
  2        I, Dr. Zhi Ding, declare under penalty of perjury that the material contained
  3 herein is true and correct and that I am competent to testify thereto.
  4 I.     CREDENTIALS AND QUALIFICATIONS
  5        1.     My name is Zhi Ding. I am presently serving as Professor in the
  6 Department of Electrical and Computer Engineering at University of California,
  7 Davis, California, a position I have held since my appointment on July 1, 2000. I
  8 am also a private technical consultant on various information related technologies. I
  9 have more than 26 years of research experience on a wide range of topics related to
 10 data communications and signal processing.
 11        A.     Education
 12        2.     I received a Ph.D. in Electrical Engineering from Cornell University,
 13 New York (1990); a Master of Applied Science degree in Electrical Engineering
 14 from University of Toronto, Canada (1987); and a Bachelor’s degree in Wireless
 15 Engineering from Nanjing Institute of Technology (later renamed Southeast
 16 University), China (1982).
 17        B.     Relevant Work Experience
 18        3.     My professional responsibilities as a Professor at University of
 19 California, Davis, include classroom instruction on various topics of
 20 communications systems and signal analysis, as well as supervising undergraduate
 21 and graduate students’ research and development efforts on various topics related to
 22 digital communications. I have directly supervised such research and development
 23 work ranging from signal detection to wireless networking. As the chief academic
 24 advisor, I have also directly supervised the completion of 18 Master’s theses and 25
 25 Ph.D. dissertations on various topics related to digital communications. I have
 26 served full time as a faculty member at three major research universities in the
 27 United States over the past 26 years, including Auburn University from 1990 to
 28 1998, University of Iowa from 1999 to 2000, and University of California, Davis,

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  1 from 2000 to present.
  2         4.    Since 1990, I have been selected as the principal investigator of
  3 multiple highly competitive federal and local research grants, including sixteen
  4 major research projects supported by the National Science Foundation and two
  5 research projects funded by the U.S. Army Research Office. These competitive
  6 research projects focused on developing more efficient and effective digital
  7 communications transceivers, networks, and signal processing tools. I have also
  8 participated in three large-scale projects supported by the Defense Advanced
  9 Research Projects Agency (DARPA) with teams of researchers. I have applied for,
 10 and received support from, other federal, state, and industry sponsors.
 11         5.    I have published over 160 peer-reviewed research articles in premier
 12 international journals, in addition to over 200 publications at top international
 13 conferences on communications and signal processing. I also authored two books
 14 on communications technologies. My most recent book, co-authored with B.P.
 15 Lathi, is entitled, “Modern Digital and Analog Communication Systems,” 4th
 16 edition, and was published by the Oxford University Press in 2009. This book has
 17 been widely adopted as an introductory textbook to communications systems.
 18         6.    I am a Fellow of the Institute of Electrical and Electronics Engineers
 19 (IEEE), and was elected in January 2003 for contributions made in signal processing
 20 for communications. The IEEE is the world’s largest professional society of
 21 engineers, with over 400,000 members in more than 160 countries. The IEEE has
 22 led the development of many standards for modern digital communications and
 23 networking, most notably, the IEEE 802 series of network standards. The IEEE
 24 Grade of Fellow is conferred by the Boards of Directors upon a person with an
 25 extraordinary record of accomplishments in any of the IEEE fields of interest. The
 26 total number selected in any one year does not exceed one-tenth percent of the total
 27 voting Institute membership.
 28         7.    I have served the IEEE in the following capacities.

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  1                    General Chair of the 2016 IEEE International Conference on
  2                     Acoustics, Speech, and Signal Processing, the flagship
  3                     conference of the IEEE Signal Processing Society.
  4                    Chair of the Steering Committee for the IEEE Transactions on
  5                     Wireless Communications.
  6                    Distinguished Lecturer of the IEEE Communications Society
  7                     from January 2008 to December 2009.
  8                    Technical Program Chair of the 2006 IEEE Globecom, one of
  9                     two flagship annual IEEE Communication Society conferences.
 10                    Distinguished Lecturer of the IEEE Circuits and Systems Society
 11                     from 2004 to 2005.
 12                    Associate Editor of the IEEE Transactions on Signal Processing
 13                     from 1994 to 1997 and 2001 to 2004.
 14                    Member of the IEEE Statistical Signal and Array Processing for
 15                     Communications Technical Committee from 1993 to 1998.
 16                    Member of the IEEE Signal Processing for Communications
 17                     Technical Committee from 1998 to 2004.
 18        8.     In 2012, I received the annual Wireless Communications Technical
 19 Committee Recognition Award from the IEEE Communications Society, a peer
 20 award given to a person with a high degree of visibility and contribution in the field
 21 of “Wireless and Mobile Communications Theory, Systems, and Networks.”
 22        9.     I have also served as a technical consultant for the telecommunications
 23 industry. For example, in 1995, I consulted for Analog Devices, Inc., on the
 24 development of first generation DOCSIS cable communications systems. I have
 25 also consulted for other companies, including Nortel Networks, NEC US
 26 Laboratories, and Futurewei. I worked as a visiting faculty research fellow at
 27 NASA Glenn Research Center in 1992 and at U.S. Air Force Wright Laboratory in
 28 1993. I have served on multiple review panels of the National Science Foundation

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  1 to evaluate competitive research proposals in the field of communications. I have
  2 also reviewed a large number of research proposals at the request of the National
  3 Science and Engineering Research Council (NSERC) of Canada as an expert
  4 panelist from 2010 to 2013, and also at the request of the Research Grant Council
  5 (RGC) of Hong Kong as an external reviewer.
  6         10.   I have served as expert witness or consulting expert on a number of
  7 matters related to intellectual property, especially in the arena of wireless
  8 communications, including cellular communications and Wi-Fi technologies in
  9 particular. From my prior experience, I have developed a strong sense of and
 10 expertise in what it means for a patent to be standard essential, particularly with
 11 respect to the 2G, 3G, and 4G cellular standards and associated technologies such as
 12 Wi-Fi. For example, since 2007, I have been engaged in extensive expert work on
 13 various litigations involving alleged cellular and Wi-Fi SEPs. In connection with
 14 my work on the present litigation, I applied such knowledge and expertise when
 15 analyzing the essentiality of select patents, as described in further detail below.
 16         11.   Further experience is presented in my curriculum vitae. (Ex. 1579.)
 17 II.     SUMMARY OF TESTIMONY
 18         A.    Overview of Technical Analysis I Performed
 19         12.   I understand that one purpose of my engagement is to assist in a setting
 20 a royalty rate for a license to certain of Ericsson’s patents that Ericsson is obligated
 21 to license on Fair, Reasonable, and Non-Discriminatory (FRAND) terms. Ericsson
 22 alleges these patents are essential to the 2G, 3G, and/or 4G standards. I understand
 23 that the total number of 2G, 3G, and 4G standard essential patents (SEPs), as well as
 24 Ericsson’s proportional shares of those SEPs, can be components used in
 25 determining FRAND royalty rates.
 26         13.   To assist in the determination of the FRAND royalty rates, this Witness
 27 Declaration provides certain analytical data relating to Ericsson’s proportional share
 28 of industry-wide 2G, 3G, and 4G SEPs. Specifically, the purpose the analysis was

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  1 to determine: (1) the total number of industry-wide 2G, 3G, and 4G patents relating
  2 to User Equipment (UE) that were declared essential to ETSI—i.e., patents that
  3 “may be or may become essential,” (2) the total number of 2G, 3G, and 4G patents
  4 that are actually essential to the standards based on a technical evaluation, and (3)
  5 the respective distributions of these total numbers of patents across assignees,
  6 including Ericsson.
  7         14.   I understand generally that other TCL experts are using the data and
  8 analysis presented in this Witness Declaration in connection with calculating
  9 FRAND rates for Ericsson’s alleged 2G, 3G, and 4G SEPs. For example, I
 10 understand that Dr. Gregory Leonard, one of TCL’s economic experts, has opined
 11 on the proper ex ante FRAND royalty rate for a license to Ericsson’s patents based
 12 upon an apportionment of the total aggregate royalty burden for all SEPs for each of
 13 the 2G, 3G, and 4G standards. In this regard, I understand generally that Dr.
 14 Leonard uses the results of my essentiality analysis of industry-wide UE patents as
 15 one input for determining Ericsson’s value share of all SEPs for each standard at
 16 issue. This industry-wide patent analysis and its results are presented herein and in
 17 Section VI of the Witness Declaration of TCL expert Dr. Apostolos (Paul) Kakaes
 18 (“Kakaes Witness Declaration”).
 19         15.   In connection with the above, first, a Patent Census was conducted and
 20 overseen by Dr. Kakaes. In my understanding, the Patent Census involved
 21 extracting information from a database of patent declarations maintained by the
 22 European Telecommunications Standard Institute (ETSI), a key international
 23 cellular standards body. These patent declarations are often called IPR declarations.
 24 According to ETSI Policy, IPR declarations inform ETSI that the declarants believe
 25 (or believed) that the identified patents or applications “may be or may become
 26 essential” to the 2G, 3G, and/or 4G standards. (Ex. 223 at pp. 9–11.) For
 27 convenience, I will refer to such patents and applications as “declared-essential
 28 patents,” “patents that have been declared as being essential,” or the like. It should

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  1 be noted (and is well accepted) that just because a patent is declared essential does
  2 not mean that it is actually essential.
  3         16.   Using the information extracted from the ETSI database, the Patent
  4 Census identified 153,880 patents and published applications belonging to 20,156
  5 patent families that were either explicitly or implicitly declared to ETSI as being
  6 essential to the 2G, 3G, and/or 4G standards. (Ex. 1336.) Of these families, a
  7 subset of families directed to UE 1 (as compared to patents directed to Network
                                       0F




  8 Equipment only) was then identified for further analysis.
  9         17.   Next, these UE patent families were analyzed to determine which
 10 families are actually “essential” to the standards that are identified in the
 11 corresponding ETSI IPR declarations. I will refer to this as the “Industry-Wide
 12 Essentiality Analysis” or simply the “Essentiality Analysis.” Due to the significant
 13 number of patents involved in this analysis, I worked with and actively supervised a
 14 team of engineers from Concur IP Consulting Pvt. Ltd. (“Concur IP”) that TCL’s
 15 counsel in this litigation commissioned to assist me.
 16         18.   Of the 20,156 declared-essential patent families identified in the Patent
 17 Census, 7,016 families were determined to include at least one active patent (i.e.,
 18 that had not expired as of January 1, 2009) that was published in English and
 19 directed to User Equipment. In order to form an accurate patent landscape without
 20 analyzing every single declared-essential patent directed to User Equipment, Concur
 21 IP then randomly sampled 33% of these 7,016 families across assignees and
 22 standards to analyze whether or not each family is essential to the 2G, 3G, or 4G
 23 standards. Thus, Concur IP reviewed 2,600 patent families (a statistically
 24 significant subset). (Ex. 1594.) To maintain objectivity and fairness throughout the
 25 entire process, the randomness of the sampling was independent of the patent owner,
 26 the specific cellular technologies, and the declared technical standard.
 27   1
     “User Equipment” as used herein can refer to a mobile phone, cellular phone,
 28 smartphone, mobile station, wireless terminal, etc.

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  1        19.    The random sampling approach enabled us to evaluate each major
  2 patent owner’s market share of UE patent families that are actually essential to the
  3 cellular wireless standards. During the course of Concur IP team’s Industry-Wide
  4 Essentiality Analysis of the 2,600 patent families, I checked the team’s results for
  5 accuracy by further randomly sampling 442 (17%) of the patent families that Concur
  6 IP analyzed. Based on this statistically significant sample, I was able to determine
  7 an accuracy rate and confidence level for the Essentiality Analysis as a whole, and
  8 also to provide timely feedback to the team members regarding their analysis.
  9        B.     Summary of Results
 10        20.    The Essentiality Analysis demonstrates that Ericsson’s proportional
 11 share of SEPs declined from 2G to 3G to 4G. Ericsson’s proportional shares of
 12 essential 2G, 3G, and/or 4G UE families and its standing among the top 15
 13 assignees is shown below on the following pages in Figures 1A to 1C.
 14        21.    For 2G, Ericsson owns 10% of the industry-wide, essential UE patent
 15 families (see Figure 1A). For 3G, Ericsson’s ownership declined to 7% of the
 16 industry-wide, essential UE patent families (see Figure 1B). For 4G, Ericsson’s
 17 ownership further declined to 6% of the industry-wide, essential UE patent families
 18 (see Figure 1C).
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  1                         Figure 1A (PDX 32): Top 15 Holders of
  2                     Actually Essential 2G UE Patent Families.
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  1                         Figure 1B (PDX 33): Top 15 Holders of
  2                     Actually Essential 3G UE Patent Families.
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  1                         Figure 1C (PDX 34): Top 15 Holders of
  2                     Actually Essential 4G UE Patent Families.
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 16 III.   BACKGROUND
 17        A.    Standards-Setting Organizations, 3GPP, and ETSI
 18        22.   Cellular technologies have evolved over the years since first being
 19 introduced commercially in the early 1980s. Mostly a luxury item, the first
 20 generation (1G) systems were commercially replaced in the 1990s by the more
 21 advanced 2G cellular systems, including GSM, GPRS, and EDGE. The 3G (UMTS)
 22 and 4G (LTE) standards were later developed, as even more advanced cellular
 23 technologies deployed after the year 2000. The 2G, 3G, and/or 4G standards are
 24 still used in various markets worldwide and have varying commercial values.
 25        23.   There are a number of vendors and manufacturers of base stations and
 26 User Equipment (e.g., mobile terminal devices) in mobile cellular communications.
 27 Analogous to electricity power plugs and power outlets, mobile terminal devices
 28 manufactured by one company need to communicate with base stations and

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  1 infrastructure manufactured by different companies in different areas. This
  2 requirement is a fundamental need that is commonly referred to as “interoperability.”
  3 To ensure interoperability, different manufacturers must agree to a common set of
  4 protocols that will enable the devices to communicate with one another. To define
  5 protocols that various manufacturers agree to follow, the industry often forms, and
  6 relies on, standards setting organizations (SSOs).
  7         24.   For the convenience of cellular users when they travel, it is highly
  8 desirable for cellular standards to ensure global, international interoperability across
  9 national boundaries. While cellular SSOs were initially fragmented in the earlier
 10 years, by the 1990s, the “Third Generation Partnership Project” (3GPP) became a
 11 de-facto international SSO in order to develop standards for what was already
 12 widely referred to as “3G.” Even though 3GPP, strictly speaking, is not an SSO, it
 13 has become one from a practical perspective. This is because 3GPP develops
 14 Technical Specifications that are routinely adopted by the various national standards
 15 setting bodies, including ETSI.
 16         25.   3GPP consists of multiple Technical Specification Groups (TSGs),
 17 each of which has a number of Working Groups, and addresses the technical subject
 18 matter hierarchically in a logical and consistent matter. The Working Groups are
 19 formed by individuals who represent any member company of at least one of the
 20 3GPP Organizational Partners (which include ETSI). Based on technical
 21 contributions from various technology companies (or their representatives), each
 22 Working Group evaluates whether a technical contribution should be included in a
 23 Technical Specification. The Technical Specification (TS) can be, and often is,
 24 amended to correct prior errors, remove outdated features, clarify prior language, or
 25 add new features. Each Technical Specification that is published is then assigned a
 26 version number. For example, TS 36.213 is a published Technical Specification that
 27 covers one specific topic area of “Physical layer procedures” in LTE and has
 28 multiple evolving versions, such as 8.3.0, 9.4.5, 12.0.0, etc.

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  1         26.    Figure 2 below shows a typical title of a Technical Specification (in
  2 this case, 3GPP TS 36.213), including its version number (10.2.0).
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  4               Figure 2: Example of 3GPP Technical Specification Title.
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  9         27.    As shown in Figure 2, the Technical Specification title includes a 3-
 10 field value representing a version number (“10.2.0” in this example). The first
 11 number in the 3-field value (“10” in the example above) corresponds to the “Release
 12 Version.” New releases introduce new functionality and may even remove outdated
 13 functionality. The second number in the 3-field value (“2” in the above example) is
 14 known as the technical version field and is incremented each time a technical
 15 change is made as a result of incorporating one or more approved “Change
 16 Requests.” The Change Request procedure is used by 3GPP to create revised
 17 versions of 3GPP specifications after approvals and publications of earlier versions.
 18 3GPP uses a Change Request procedure to (among other things): (1) add a new
 19 feature; (2) correct, clarify, and/or enhance an existing feature of a release still under
 20 development; (3) correct an error; or (4) remove an outdated feature. The third
 21 number in the 3-field value (“0” in the above example) indicates the editorial
 22 version field. The editorial version field is incremented each time a non-technical
 23 change is made to the specification, for example, to correct trivial typographical
 24 errors.
 25         B.     Declaring Patents to ETSI That May Be or May Become “Essential”
 26         28.    SSOs often adopt intellectual property rights (IPR) policies that require
 27 certain members to declare patents and patent applications relevant to the standards
 28 in a timely manner. For example, the 3GPP partner member ETSI has such an IPR

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  1 policy requirement. (See, e.g., Exs. 223 at pp. 1 (§ 4.1), 9–11; see also Ex. 224.)
  2 ETSI provides a basic form for declaring patents essential. (See, e.g., Ex. 223 at pp.
  3 9–11.) By completing the ETSI form used at the time I prepared my February 1,
  4 2016 Expert Report, the declarant informs ETSI that the listed patents “may be or
  5 may become ESSENTIAL in relation to at least” the following information the
  6 declarant can identify:
  7               (1)    project or standard names (e.g., 2G, 3G, or 4G);
  8               (2)    ETSI work items or standard numbers (e.g., technical
  9                      specification numbers, such as TS 36.213);
 10               (3)    “illustrative specific part[s] of the standard (e.g.,
 11                      Section[s])”; and
 12               (4) version numbers for any such standards (e.g., V.3.5.0).
 13 (Ex. 223 at pp. 10, 11.)
 14         29.   In light of the above, there are a number of reasons why simply
 15 counting the number of patent declarations can be an unreliable metric for
 16 evaluating the true strength of a patent portfolio. First, the declaration process is
 17 self-policing because ETSI does not scrutinize declarations to ensure that the
 18 declared patents are truly essential to any ETSI standards. Furthermore, per ETSI’s
 19 IPR Policy, declarations should be filed when the patents “may be or may become
 20 ESSENTIAL.” (See e.g., Ex. 223 at p. 9.)
 21         30.   Second, another important consideration with respect to whether any
 22 particular declared patent is actually essential lies in the SSO’s documentation
 23 process. In particular, a patented invention may involve a technical feature that
 24 initially becomes the basis for a feature in an earlier version of a Technical
 25 Specification. In later versions or releases of the Technical Specification, however,
 26 such a feature may be removed for reasons such as lack of use, conflict with other
 27 features, or inefficiencies. Similarly, a technical change made during the drafting
 28 process of the Technical Specification or as a result of modifications to the

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  1 Technical Specification may also change the essentiality of a declared-essential
  2 patent. Such changes may occur as a result of 3GPP’s Change Request (CR)
  3 procedure that is used to generate revised versions of standards after initial approval,
  4 as mentioned above. (See Section III.A, supra.)
  5        31.    An example of the above concept is Technical Specification 3GPP TS
  6 25.212, which includes a compressed mode transmission through which higher rate
  7 data are sent during a compressed time duration in each uplink or downlink data
  8 frame. Here, 3GPP TS 25.212 V6.0.0 initially specified such a compressed mode
  9 transmission, for example as shown below in Figure 3. Specifically, as shown
 10 below in § 4.4.3.1, compressed mode transmission can be effected by puncturing of
 11 error correction codes in V6.0.0 in 3GPP TS 25.212 V6.0.0. (Ex. 1595 at p. 55.)
 12
 13                     Figure 3: Compressed Mode by Puncturing.
 14
 15
 16
 17
 18
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 20
 21
 22        32.    Incidentally, Ericsson is the assignee of the P05860 patent family
 23 related to this feature. The representative patent for P05860 is U.S. Patent No.
 24 5,883,899 (“the ’899 Patent”), which is specifically directed to compressed mode
 25 CDMA transmission. (Ex. 1320 at p. 13, 11:6–25.) Claim 1 of Ericsson’s ’899
 26 Patent appears relevant to the compressed mode by increasing the code rate, and in
 27 my opinion would at one time have been essential to 3G, specifically to the
 28 compressed mode transmission feature in 3GPP TS 25.212 V6.0.0 shown above.

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  1 Nevertheless, 3GPP subsequently removed the “compressed mode by puncturing”
  2 feature from the standard, as shown below in Figure 4. (Ex. 1280 at p. 1.)
  3
  4   Figure 4 (PDX 35): Proposal for Removing Compressed Mode by Puncturing.
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 13
 14         33.   Subsequent to 3GPP’s decision to remove “compressed mode by
 15 puncturing,” Change Request number CR 218 (R1-050525) (Ex. 1282) was issued
 16 and incorporated into 3GPP TS 25.212 V6.4.0 (Ex. 1281). As a result, the feature of
 17 compressed mode by puncturing was omitted from 3GPP TS 25.212 V6.5.0 and all
 18 subsequent releases and versions. (See, e.g., Ex. 1279.) Thus, the ’899 Patent,
 19 which previously could have been considered essential, is now no longer relevant to
 20 this part of the standard, and is non-essential.
 21         34.   In summary, patent declarations merely provide information about the
 22 landscape of patents each company has that it believed may be or may become
 23 essential. The declarations do not conclusively show that such patents are, in fact,
 24 standard essential. For at least this reason, consistent with well-accepted industry
 25 views (see, e.g., Ex. 1035 at p. 4; Ex. 1040 at p. 4), my opinion is that an analysis of
 26 whether declared-essential families are actually essential to the 2G, 3G, or 4G
 27 standards presents a more objective and accurate landscape than just surveying the
 28 number and ownership distribution of declared-essential patents.

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  1 IV.     INDUSTRY-WIDE PATENT ESSENTIALITY ANALYSIS OF 2G, 3G,
  2         AND 4G USER EQUIPMENT PATENTS
  3         A.    Objectives and Summary of Approach
  4         35.   As explained in Section III above, patent declarations alone often
  5 cannot reliably be used as a measure to determine the true landscape of 2G, 3G,
  6 and/or 4G SEPs. To address this issue, TCL’s counsel engaged a team of engineers
  7 at Concur IP. Dr. Paul Kakaes and I directed this team to assist me in analyzing
  8 industry-wide 2G, 3G, and 4G declared-essential patent families directed to User
  9 Equipment to determine if the patents are actually essential (i.e., the Industry-Wide
 10 Essentiality Analysis).
 11         36.   The first step in our analysis begins with the Patent Census. The Patent
 12 Census was conducted by a team at Ernst & Young India and overseen by Dr.
 13 Kakaes, as discussed in more detail in his concurrently submitted Witness
 14 Declaration. (See, e.g., Sections VI.A–B.) In my understanding, the Patent Census
 15 involved gathering data from ETSI’s IPR database and the INPADOC database, 2        1F




 16 and using the gathered data to determine the total number of patent families declared
 17 essential to the 2G, 3G, and 4G standards, as well as the distribution of these
 18 families across assignees of patent families. Next, Concur IP classified these
 19 declared-essential families into UE Families (i.e., patent families relevant to User
 20 Equipment, such as cellphones, by virtue of including a patent with a claim directed
 21 to UE) and non-UE Families (i.e., those patent families that are not relevant to User
 22 Equipment, such as patents directed to network equipment such as base stations).
 23         37.   The UE Families were then randomly sampled across assignees and
 24 standards to generate a statistically-significant subset of 33% of all UE Families.
 25 Concur IP analyzed this sample set of UE Families to determine which patent
 26 families are actually essential. Over the course of the Industry-Wide Essentiality
 27
      2
     The INternational PAtent DOcumentation Center is an international patent
 28 database produced and maintained by the European Patent Office.

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  1 Analysis, I randomly chose 442 (17%) of Concur IP’s essentiality determinations to
  2 review personally in order to assess the accuracy of Concur IP’s work. In
  3 connection with this review, I regularly assessed the results of Concur IP’s
  4 essentiality determinations and provided feedback to the Concur IP team based on
  5 my assessments. I then determined an accuracy rate for Concur IP’s determinations.
  6 Based on my analysis of the sample set of UE Families, I also determined
  7 essentiality ratios for the industry. By extrapolation, I used these ratios to estimate
  8 the respective and total numbers of essential 2G, 3G, and 4G UE Families as a
  9 whole, as well as individually for the top assignees in the wireless industry.
 10        B.     Team Qualifications
 11        38.    In connection with our team’s work on the Industry-Wide Essentiality
 12 Analysis, I worked closely and interactively with Mr. Sachin Sinha and the Concur
 13 IP team he led.
 14        39.    Mr. Sinha holds a Bachelor of Technology in Electronics and
 15 Communications Engineering. He has over nine years of experience in IP
 16 consulting services performing patent evaluation, analysis, and research, in addition
 17 to over one year experience working with one of the largest telecommunications
 18 operators in India. His primary expertise is mapping patents to products and
 19 technical standards, particularly cellular communications standards, to determine
 20 potential infringement or essentiality. In the past, he has led some of the most
 21 comprehensive studies on cellular SEPs. Major companies have relied upon these
 22 studies for important business decisions, patent negotiations, and international
 23 arbitrations. Mr. Sinha’s curriculum vitae provides additional information regarding
 24 his qualifications and relevant experience. (Ex. 1598.)
 25        40.    The qualifications of the remaining Concur IP team members are
 26 discussed in Dr. Kakaes’s Witness Declaration. (See, e.g., Section VI.A.)
 27
 28

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  1         C.    The Patent Census
  2         41.   As mentioned, the first step in our analysis of a true or actual SEP
  3 landscape started from the Patent Census overseen and supervised by Dr. Kakaes.
  4 Dr. Kakaes’s opinions concerning the Patent Census are set forth in detail in the
  5 Kakaes Witness Declaration. (See, e.g., Sections VI.A–B.) The Patent Census
  6 involved obtaining information from ETSI’s IPR database regarding all patents
  7 declared essential to 2G, 3G, and/or 4G. My understanding is that this information
  8 was obtained as of September 15, 2015, using the “extract” feature of the ETSI
  9 database. Based on this information, the Patent Census identified 153,880 patents
 10 and patent applications either explicitly or implicitly declared as essential. Patents
 11 and patent applications are implicitly declared essential by virtue of being members
 12 of a family that was otherwise explicitly declared (e.g., another patent in the family
 13 was declared essential).
 14         42.   Expiration dates and jurisdiction of the patents were determined. In
 15 addition, the information and data gathered during the Patent Census was used to
 16 assess which of the 2G, 3G, and/or 4G standards were indicated in the IPR
 17 declaration as being relevant to the declared patents. The information and data was
 18 then used to group the declared-essential patents into 20,156 families. (Ex. 1594.)
 19 Among these patent families, 11,469 families were found to have at least one
 20 granted patent that is still active (i.e., not expired as of January 1, 2009) and was
 21 published in English. (Id.)
 22         D.    Identification of Declared-Essential User Equipment Families
 23         43.   For the Industry-Wide Essentiality Analysis, Concur IP’s team of
 24 engineers and I began by assessing the 11,469 declared-essential families identified
 25 in the Patent Census to determine how many of these families include a claim
 26 directed to User Equipment (i.e., how many of these families are UE Families, as
 27 defined above). This involved reviewing patents issued in English within each of
 28 the 11,469 declared-essential families until a “Pure UE Claim” was found. For

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  1 purposes of this analysis, a Pure UE Claim was defined as an independent claim in
  2 an issued patent that has all the limitations performed solely by User Equipment.
  3        44.     Once a Pure UE Claim was found within a patent family, the family
  4 was tagged as a UE Family. If all the patents that were published or issued in
  5 English within a family were reviewed and no Pure UE Claim was found, the family
  6 was tagged as a “Non-UE Family.” Table 1 illustrates the number and percentage
  7 of UE and Non-UE Families declared essential to the 2G, 3G, and/or 4G standards.
  8
  9                Table 1 (PDX 36): UE vs. Non-UE 2G, 3G, 4G Families. 3       2F




 10         No. of                  % of                 % of                   % of
                            2G                 3G                     4G
           Families                 Total                Total                  Total
 11
           UE             1,182      49       2,947       57        5,024        66
 12
           Non-UE         1,216      51       2,181        43       2,614            34
 13
           Total          2,398      100      5,128       100       7,638            100
 14
 15
 16        45.     Out of the 11,469 declared-essential families we reviewed according to
 17 the above process, we identified 7,016 declared-essential families that are UE
 18 Families. In order to form an accurate patent landscape without analyzing every
 19 single one of these patent families, one third (33.3%) of UE Families within each
 20 cellular standard (i.e., 2G, 3G, and 4G, respectively) were randomly selected to
 21 review to determine if they are actually essential to the 2G, 3G, or 4G standards.
 22 Thus, a total of 2,600 randomly selected UE Families were analyzed. Given the
 23 large number of families in the 33% sample (i.e., 2,600 UE Families), it is my
 24 opinion that the overall essentiality ratios we calculated for 2G, 3G, and 4G are
 25 accurate and reliable for the purposes of the Industry-Wide Essentiality Analysis.
 26
      3
     A number of the declared-essential patent families pertain to multiple standards.
 27
    Thus, the sum of the numbers in Table 1 is greater than the 11,469 patent families
 28 discussed herein.

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  1        46.    The random selection was made separately for each of the 2G, 3G, and
  2 4G standards using the “RAND” function in Microsoft Excel. (See Ex. 1594.) Also,
  3 the random selection was made for each of the top 15 UE Family assignees (see
  4 Table 2 below). Outside of the top 15 assignees, all remaining UE Families were
  5 grouped together (e.g., labeled as “others” in Table 2 and Figure 5 below on the
  6 following page), and one third of those were randomly sampled for each of the 2G,
  7 3G, and 4G standards. Table 2 shows the numbers of UE Families for each
  8 standard for each of the top 15 assignees (and the “others”), as well as the
  9 corresponding number of families representing the 33.3% random selection.
 10
 11                Table 2 (PDX 37): UE Families for Top 15 Assignees.
 12                                          33%          33%                            33%
                             All UE    GSM         UMTS                            LTE
 13       Company                           Sample       Sample                         Sample
                            Families   (2G)         (3G)                           (4G)
                                             Size         Size                           Size
 14
      QUALCOMM                988       175   58     520   173                      654   218
 15   SAMSUNG                 725        19    6     157   52                       649   216
 16   NOKIA                   608       224   75     339   113                      414   138
      ERICSSON                485       107   36     199   66                       311   104
 17
      INTERDIGITAL            464        87   29     267   89                       286   95
 18   GOOGLE                  431        80   27     164   55                       321   107
 19   LG                      412        23    8     146   49                       293   98
      NTT                     257        21    7      74   25                       205   68
 20   HUAWEI                  242        51   17      99   33                       191   64
 21   BLACKBERRY              178        86   29     101   34                       132   44
      PANASONIC               176         9    3      47   16                       143   48
 22
      NEC CORP                152        22    7      66   22                       109   36
 23   SHARP                   145         0    0       8    3                       145   48
 24   APPLE                   131        23    8      37   12                       118   39
      TEXAS                   124       1             0         23         8        94        31
 25   INSTRUMENTS
 26   OTHERS                 1,588      254        85           700       233       959      319
 27   ALL                    7,106     1,182      395          2,947      983      5,024    1,673

 28

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  1         47.   To provide further insight into the numbers shown in Table 2, Figure 5
  2 below is a Venn diagram describing the relationship among various UE Families as
  3 they relate to different cellular standards. As shown in Figure 5, among the total
  4 7,106 UE Families, there are 303 patent families declared only to 2G. Similarly,
  5 1,404 patent families were declared only to 3G, while 3,613 patent families were
  6 declared only to 4G. There were 711 patent families declared to 2G, 3G, and 4G.
  7 Moreover, 150 patent families were declared to 2G and 3G only; 682 patent families
  8 were declared to 3G and 4G only; and 18 patent families were declared to 2G and
  9 4G only. There were also 225 patent families that are unrelated to the cellular
 10 standards at issue in this case (“None”). This is all represented graphically in
 11 Figure 5 below.
 12
 13         Figure 5 (PDX 38): Distribution of Declared-Essential UE Families
 14                                Across 2G, 3G, and 4G.
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  1         E.    Essentiality Analysis Protocol
  2         48.   The goal of the Essentiality Analysis is to determine whether the
  3 declared-essential UE Families are actually essential. The primary task that needed
  4 to be undertaken to complete the Essentiality Analysis was to compare the claims of
  5 patents in the UE Families to the relevant 2G, 3G, and/or 4G standard specifications,
  6 and determine whether the standard specification requires all the elements of at least
  7 one Pure UE Claim. If it did, the family was deemed “essential.”
  8         49.   The determination of whether a family was deemed essential was based
  9 on “technical” essentiality as opposed to “commercial” essentiality. This matches
 10 the official ETSI IPR policy definition of “essential” set forth below.
 11               “ESSENTIAL” as applied to IPR means that it is not
 12               possible on technical (but not commercial) grounds, taking
 13               into account normal technical practice and the state of the
 14               art generally available at the time of standardization, to
 15               make, sell, lease, otherwise dispose of, repair, use or
 16               operate EQUIPMENT or METHODS which comply with
 17               a STANDARD without infringing that IPR.                For the
 18               avoidance of doubt in exceptional cases where the
 19               STANDARD can only be implemented by technical
 20               solutions, all of which are infringements of IPRs, all such
 21               shall be considered ESSENTIAL.
 22 (Ex. 223 at p. 7.)
 23         50.   If the standard specification did not require all elements of at least one
 24 Pure UE Claim in the patent family, the family was deemed non-essential. We
 25 restricted our review process to English language patents, as such patents would not
 26 require language translations that could potentially lead to difficulties or
 27 inaccuracies in our Essentiality Analysis due to inaccurate, ambiguous, or non-
 28 standard translation of technical terms.

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  1        51.    For a given UE Family, patents were reviewed in the following order:
  2               (1)   Patents issued by the United States Patent and Trademark
  3                     Office;
  4               (2)   Patents issued by the European Patent Office; and
  5               (3)   Any English-language issued patent.
  6        52.    The team at Concur IP studied the standard specifications and/or
  7 sections listed in the ETSI IPR declarations to determine whether the patents were
  8 essential. In case a declared standard specification referred to another specification,
  9 Concur IP also considered that specification to determine essentiality. So that I
 10 could more closely oversee Concur IP’s analysis and review, and provide feedback
 11 related to the same (see, e.g., Section IV.G–H below), Concur IP recorded the
 12 following information with respect to the Essentiality Analysis, and shared it with
 13 me on a regular basis. (See also Ex. 1594; Ex. 551 at pp. 3–4.)
 14               (1)   Representative UE claim;
 15               (2)   Essentiality to GSM (individual patent);
 16               (3)   Essentiality to UMTS (individual patent);
 17               (4)   Essentiality to LTE (individual patent);
 18               (5)   Relevant standard specification number;
 19               (6)   Relevant sections and excerpts from standard
 20                     specification;
 21               (7)   Link to standard specification;
 22               (8)   Concur IP comment;
 23               (9)   Essentiality to GSM (Family wise);
 24               (10) Essentiality to UMTS (Family wise); and
 25               (11) Essentiality to LTE (Family wise).
 26        53.    By way of example, according to the Essentiality Analysis process
 27 described above, Concur IP analyzed patent family number 2900, which includes 16
 28 patents. Concur IP started by first reviewing U.S. Patent No. 8,351,347 (“the ’347

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  1 Patent”). (Ex. 1286.) Concur IP identified claim 1 as a Pure UE Claim, and
  2 selected it as a representative claim for purposes of the Essentiality Analysis.
  3        54.    Claim 1 is directed to a method for transmitting a sounding reference
  4 signal (SRS) from a UE in a wireless communications system. Specifically, the
  5 claim requires the UE transmitting to a base station a first SRS triggered by a higher
  6 layer and a second SRS trigged by a downlink control information (DCI). The
  7 claim further requires that if both transmission of the first SRS and transmission of
  8 the second SRS are expected to occur in a common subframe, then the UE transmits
  9 only the second SRS to the base station.
 10        55.    The family for the ’347 Patent was declared essential to LTE, and
 11 specifically to 3GPP TS 36.211, 3GPP TS 36.212, and 3GPP TS 36.213. Upon
 12 review of these Technical Specifications, Concur IP identified 3GPP TS 36.213 to
 13 be the most relevant specification. 3GPP TS 36.213 requires transmission of SRS
 14 based on two types of triggers (trigger type 0: higher layer signaling; and trigger
 15 type 1: DCI formats 0/4/1A for FDD and TDD). (Ex. 1322 at p. 137 (§ 8.2).) As
 16 shown in Figure 6 below, 3GPP TS 36.213 V12.7.0 also requires that if both trigger
 17 type 0 and trigger type 1 SRS transmissions would occur in the same subframe in
 18 the same serving cell, then the UE shall only transmit the trigger type 1 SRS
 19 transmission. (Id.)
 20
 21                          Figure 6: UE Sounding Procedure.
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  1         56.   Because all the limitations of claim 1 appear to be met by 3GPP TS
  2 36.213, Concur IP found the family essential to LTE.
  3         F.    Principle of Neutrality and Objectivity
  4         57.   A primary principle guiding the Industry-Wide Essentiality Analysis
  5 was maintaining and ensuring neutrality. That is, all patents were selected,
  6 reviewed, and treated equally regardless of ownership, declared Technical
  7 Specification, and other factors. The Concur IP team members were strictly
  8 instructed to follow this principle. I also followed the same principle when
  9 reviewing Concur IP’s findings regarding essentiality.
 10         58.   Another principle guiding the Industry-Wide Essentiality Analysis was
 11 objectivity. The Concur IP team members were instructed to base their analysis and
 12 conclusions strictly on careful comparison between the patent claims and the
 13 relevant standard specifications (e.g., as identified in ETSI IPR Declarations for the
 14 patents). I followed the same principle. Information not related to the patent claims
 15 and the relevant standards, such as patent ownership, was intentionally ignored in
 16 order to ensure neutrality.
 17         G.    Quality Control and Accuracy Assessment
 18         59.   Concur IP followed the above-described process in analyzing each of
 19 the randomly selected 2,600 UE Families. I supervised Concur IP’s work by
 20 communicating with the team regularly, and by reviewing results on a regular basis.
 21 I provided feedback during regularly scheduled conference calls, conferred with the
 22 team when questions arose, and spent many hours checking the essentiality
 23 determinations of the analysis after the team completed its initial review. For
 24 example, throughout the process, if Concur IP had any doubt about any aspect of the
 25 Industry-Wide Essentiality Analysis, such cases were elevated to my attention and
 26 marked for my review to be discussed during our regularly scheduled conference
 27 calls that often included Dr. Kakaes and always included counsel for TCL. (See,
 28 e.g., Ex. 551 at p. 4.)

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  1         60.   For quality control and accuracy assessment purposes, Concur IP
  2 recorded useful information, such as the representative claims analyzed, the relevant
  3 sections of the standard specification, and a comment from the Concur IP reviewer
  4 on the reason for the essentiality determination. Using this information, a qualified
  5 expert (such as myself or others) knowledgeable of the cellular standards could then
  6 efficiently check the results, or a sample of the results, for correctness. This is in
  7 fact what I did.
  8         61.   Nonetheless, determining the essentiality of a particular patent or
  9 family can be technically complex and challenging. First, the claimed invention
 10 may be a single step or a process among several hundreds or even thousands of
 11 functionalities and steps described in a single standard document. Second, the
 12 patent declarant may list any number of standard documents as being relevant, and
 13 each of these may contain hundreds, sometimes thousands, of pages of elaborate
 14 technical descriptions.
 15         62.   For example, the declaration for patent family 18410 (which includes
 16 U.S. Patent No. 7,760,698) cited four standard documents for essentiality: TS
 17 25.308 (8.4.0), TS 25.211 (8.3.0), TS 25.213 (8.3.0), and TS 25.101 (8.0.0). (Ex.
 18 1457.) In certain instances, it can be very challenging even for skilled experts to
 19 isolate the many functionalities or capabilities in the multiple standard documents to
 20 the claim elements themselves. Moreover, certain claim language may be broad
 21 and/or ambiguous, requiring reviewers to interpret phrases and terms to the best of
 22 their knowledge. As a result, it is generally anticipated that a small fraction of
 23 essentiality determinations may be inaccurate.
 24         63.   Nevertheless, the random sampling of the UE Families means that the
 25 same potential inaccuracies in the essentiality determinations would apply to all the
 26 patent families our team analyzed and reviewed, irrespective of the patent owners,
 27 the underlying technologies and standards, and other factors. As a result, any errors
 28 do not favor one owner/company or another, and therefore should not affect the

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  1 overall conclusion of the Industry-Wide Essentiality Analysis.
  2        64.    I implemented a particular quality control procedure to sample and
  3 check at least 15% of Concur IP’s essentiality determinations for accuracy. If my
  4 own essentiality analysis for a given patent family that I checked was in agreement
  5 with Concur IP’s essentiality determination, I would then mark the determination as
  6 accurate. If, however, I identified a discrepancy, then Concur IP and I would jointly
  7 reexamine the claims and the relevant standard sections to resolve the discrepancy
  8 and converge on the patent family’s essentiality or non-essentiality to the relevant
  9 standard. If Concur IP’s original essentiality determination was amended after the
 10 joint re-examination and convergence process, then I marked the original
 11 determination as inaccurate.
 12        65.    In the event of discrepancy, I noted any differences and also monitored
 13 the direction of error—i.e., changes from essential to non-essential or from non-
 14 essential to essential. As an example, the Concur IP team analyzed patent family
 15 20130 as part of the Industry-Wide Essentiality Analysis. This patent family
 16 contains EP Patent No. 0,932,141 B1. (Ex. 1287.) The invention for this patent
 17 family relates to the encoding of different types of audio signals—e.g., speech,
 18 music, background—into digital form for transmission by cellular UE devices.
 19 Representative claim 1 (shown below in Figure 7) was identified as a Pure UE
 20 Claim. (Ex. 1287 at p. 11.)
 21
 22                      Figure 7: Claim 1 of EP No. 0,932,141 B1.
 23
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  1         66.   Concur IP initially evaluated this claim against the three disclosed
  2 3GPP standard documents (TS 26.411, TS 26.442, and TS 26.445) and determined
  3 that: “The patent discusses a method and device for coding audio signals. At least
  4 the claim element ‘coding the speech signals using a time domain coding scheme’ is
  5 not required by the cited standard. Hence the patent is unlikely to be essential.” (Ex.
  6 1594.)
  7         67.   During my review, I determined based on analyzing 3GPP TS 26.445
  8 V12.4.0 that Section 4.4.1, and in particular Figure 1 of 3GPP TS 26.445, does in
  9 fact describe a “classification based encoder” that meets the limitations of claim 1.
 10 Once I identified this discrepancy, I worked with Concur IP to resolve it, and we
 11 ultimately agreed that this patent family was in fact likely to be essential to the
 12 declared standard. I therefore marked Concur IP’s essentiality determination for this
 13 family as “inaccurate” (moving from non-essential to essential) in my accuracy
 14 check analysis.
 15         H.    Accuracy Direction Analysis
 16         68.   As explained above, in order to assess the accuracy of the Industry-
 17 Wide Essentiality Analysis, my goal was to sample and select at least 15% of
 18 Concur IP’s essentiality determinations for secondary review. I surpassed this goal
 19 by personally reviewing a randomly chosen subset of 442 (17%) of the 2,600 UE
 20 patent families Concur IP analyzed for essentiality. Given that Concur IP’s original
 21 selection was random, the subset of 442 families I reviewed also exhibits a random
 22 pattern.
 23         69.   Upon further reexamination and discussion with our team, a total
 24 number of only 42 determinations from among the subset of 442 UE patent families
 25 I reviewed were eventually marked as inaccurate, representing an error rate of only
 26 9.5%.
 27         70.   More specifically, among the 442 families I reviewed, Concur IP found
 28 305 families non-essential. My review of these 305 families identified only 36

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  1 inaccuracies, an error rate of only 11.8%. I then marked these 36 families
  2 (originally determined to be non-essential) as essential in my final analysis result.
  3         71.   In the reverse direction, Concur IP initially determined 137 of the 442
  4 families to be essential. My review identified that 6 of the 137 determinations were
  5 inaccurate, an error rate of only 4.38%. I then marked these six families (originally
  6 determined to be essential) as non-essential in my final analysis results.
  7         72.   By comparison, there is a higher percentage of under-determinations
  8 (i.e., incorrect determinations that families are not essential) versus over-
  9 determinations (i.e., incorrect determinations that families are essential). Such
 10 results should not be surprising, as a more experienced evaluator would tend to have
 11 a broader view and more familiar knowledge of the many declared standard
 12 documents. Therefore, for patent claims that either may use less common
 13 terminologies or often require more complex claim construction, a more
 14 experienced evaluator (like myself or others) would be more likely to identify
 15 matching technologies and Technical Specifications for the claims and thereby deem
 16 the patent essential instead. The earlier example of the patent family 20130 (for EP
 17 Patent No. 0,932,141 B1) showed one such change from non-essential to essential
 18 upon my review.
 19         I.    Significance of the Industry-Wide Essentiality Analysis
 20         73.   The Industry-Wide Essentiality Analysis and the accuracy direction
 21 analysis results described above are statistically significant at least because of the
 22 large sample size (i.e., 2,600 UE Families), and the fact that they are based on the
 23 above-described principles of neutrality and objectivity. As explained above, the
 24 random sampling of UE Families, the focus on patents issued in English, the
 25 approach for establishing standard essentiality, and the quality control and accuracy
 26 assessment, constituted a fair, reasonable, and technically sound process for
 27 assessing the landscape of a company’s contribution and position in terms of
 28 essential patents (as compared to patents merely declared as essential). Relative to

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  1 simply surveying self-declared patents, such analysis forms a much stronger
  2 foundation for objectively determining the true strength of a given company’s
  3 cellular patent portfolio from an essentiality perspective.
  4        J.     Overall Results of the Industry-Wide Essentiality Analysis
  5        74.    The overall results of the Industry-Wide Essentiality Analysis are
  6 depicted below (on the following page) in Table 3. For each of the top 15 SEP
  7 owner companies, as well as for all declared-essential families owned by “others,”
  8 Table 3 lists:
  9               (1)   The number of declared-essential UE Families;
 10               (2)   The number of UE Families evaluated in the Industry-
 11                     Wide Essentiality Analysis;
 12               (3)   The number of UE Families determined to be essential
 13                     according to the Industry-Wide Essentiality Analysis;
 14               (4)   The essentiality ratio—i.e., the ratio of evaluated UE
 15                     Families found essential to the total evaluated UE
 16                     Families for each company; and
 17               (5)   The number of estimated essential UE Families by
 18                     extrapolation using the corresponding essentiality ratios.
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  1    Table 3 (PDX 39): Essentiality Ratio Analysis of 2G, 3G, and 4G UE Families.
  2                                                           Estimated
                   Families
  3                           Families Essential Essentiality Essential
         Company   Declared
                             Evaluated Families     Ratio     Families by
  4                Essential
                                                             Extrapolation
  5   QUALCOMM       988        380      111       29.2%          289
  6   SAMSUNG        725        257       78       30.4%          220
      NOKIA          608        247      108       43.7%          266
  7   ERICSSON       485        159       58       36.5%          177
  8   INTERDIGITAL   464        184       75       40.8%          189
      GOOGLE         431        161       32       19.9%          86
  9
      LG             412        145       86       59.3%          244
 10   NTT            257        87        29       33.3%          86
 11   HUAWEI         242        95        43       45.3%          110
      BLACKBERRY     178        73        40       54.8%          98
 12   PANASONIC      176        56        15       26.8%          47
 13   NEC CORP       152        57        23       40.4%          61
      SHARP          145        49        19       38.8%          56
 14
      APPLE          131        49        12       24.5%          32
 15   TEXAS
                     124        39        23       59.0%          73
 16   INSTRUMENTS
      OTHERS        1,588       562      219       39.0%          619
 17
      ALL           7,106      2,600     971       37.3%         2,654
 18
 19
 20         75.   To arrive at these overall results from the findings of the Industry-Wide
 21 Essentiality Analysis, extrapolation was used to estimate the total number of
 22 essential UE Families each company owns. Because the 33% sampling and
 23 selection of the 2,600 UE Families captured such a large set of patent families for
 24 analysis, it can reasonably be anticipated that the determined essentiality ratios are
 25 statistically very close to the true essentiality ratio of each company’s entire UE
 26 Family portfolio. Thus, the essentiality ratios can be used to reasonably estimate the
 27 total number of each company’s essential UE Families (i.e., by multiplying the
 28 essentiality ratios by the numbers of its declared-essential UE Families).

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  1        76.    The overall results of the Industry-Wide Essentiality Analysis show
  2 essentiality ratios varying from company to company and ranging from as low as
  3 19.9% to as high as 59.3%. In total, 971 out of the analyzed 2,600 UE Families
  4 were found to be essential, representing an average essentiality ratio of 37.3% for
  5 the industry. Ericsson ranks slightly below average with a 36.5% essentiality ratio,
  6 and ranks at number seven among the top 15 holders.
  7        77.    Table 4 below illustrates more specifically the essentiality ratio
  8 analysis for the 2G UE Families. As shown, Ericsson’s essentiality ratio for 2G is
  9 41.7%, slightly above the overall average of 37.7% for 2G-related UE technologies.
 10
 11          Table 4 (PDX 40): Essentiality Ratio Analysis of 2G UE Families.
 12                                                             Estimated
                    Families
 13                            Families Essential Essentiality Essential
          Company   Declared
                              Evaluated Families     Ratio     Families By
 14                 Essential
                                                              Extrapolation
 15    NOKIA          224        75        43       57.3%          128
 16    QUALCOMM       175        58        17       29.3%           51
       ERICSSON       107        36        15       41.7%           45
 17    INTERDIGITAL    87        29         7       24.1%           21
 18    BLACKBERRY      86        29        12       41.4%           36
       GOOGLE          80        27         6       22.2%           18
 19
       HUAWEI          51        17         8       47.1%           24
 20    NTT             21         7         1       14.3%            3
 21    NEC CORP        22         7         3       42.9%            9
       APPLE           23         8         1       12.5%            3
 22    LG              23         8         2       25.0%            6
 23    SAMSUNG         19         6         3       50.0%           10
       PANASONIC       9          3         1       33.3%            3
 24
       TEXAS
 25    INSTRUMENTS     1          0         0         NA           NA

 26    SHARP           0          0         0         NA           NA
       OTHERS         254        85        30       35.3%           90
 27
       ALL           1,182       395      149       37.7%          446
 28

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  1        78.   The pie chart in Figure 8A below depicts the top 15 patent holders of
  2 declared-essential UE Families for 2G based on the Patent Census.
  3
  4 Figure 8A (PDX 41): Top 15 Holders of Declared-Essential UE Patent Families
  5                          for 2G Based on Patent Census.
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  1         79.    The pie chart in Figure 8B below depicts the top 15 patent holders of
  2 essential UE Families for 2G only.
  3         80.    Ericsson’s share of essential UE Families changed marginally from 9%
  4 to 10% for 2G based on the Industry-Wide Essentiality Analysis. Given that
  5 Ericsson’s essentiality ratio is close to that of the overall industry, this result is
  6 expected.
  7
  8               Figure 8B (PDX 42): Top 15 Holders of UE SEPs for 2G
  9                              Based on Essentiality Analysis.
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  1        81.   Similarly, the next set of results from Table 5 and Figures 9A and 9B
  2 below (on the following pages) show the results for 3G UE Families. As shown in
  3 Table 5, Ericsson’s essentiality ratio for 3G is 40.9%—again, only marginally
  4 above the overall average of 39.6% for 3G-related UE Families.
  5
  6          Table 5 (PDX 43): Essentiality Ratio Analysis of 3G UE Families
  7                                                                Estimated
                        Families
  8                                Families Essential Essentiality Essential
          Company       Declared
                                  Evaluated Families     Ratio     Families by
  9                     Essential
                                                                  Extrapolation
 10   QUALCOMM              520        173           37          21.4%            111
 11   NOKIA                 339        113           50          44.2%            150
      INTERDIGITAL          267        89            38          42.7%            114
 12   ERICSSON              199        66            27          40.9%            81
 13   GOOGLE                164        55            10          18.2%            30
      SAMSUNG               157        52            24          46.2%            72
 14
      LG                    146        49            34          69.4%            101
 15   BLACKBERRY            101        34            23          67.6%            68
 16   HUAWEI                99         33            14          42.4%            42
      NTT                   74         25             7          28.0%            21
 17
      NEC CORP              66         22            10          45.5%            30
 18   PANASONIC             47         16             2          12.5%             6
 19   APPLE                 37         12             5          41.7%            15
      TEXAS                  23         8             5          62.5%             14
 20   INSTRUMENTS
 21   SHARP                   8         3            2           66.7%             5
      OTHERS                 700       233          101          43.3%            303
 22   ALL                   2,947      983          389          39.6%           1,166
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  1        82.   The pie chart in Figure 9A below depicts the top 15 patent holders of
  2 declared-essential UE Families for 3G based on the Patent Census.
  3
  4 Figure 9A (PDX 44): Top 15 Holders of Declared-Essential UE Patent Families
  5                          for 3G Based on Patent Census.
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  1         83.    The pie chart in Figure 9B below depicts the top 15 patent holders of
  2 essential UE Families for 3G.
  3         84.    Ericsson’s share of essential UE Families remains nearly unchanged at
  4 7% for 3G based on the Industry-Wide Essentiality Analysis. Given that Ericsson’s
  5 essentiality ratio is close to that of the overall industry, this result is expected.
  6
  7               Figure 9B (PDX 45): Top 15 Holders of UE SEPs for 3G
  8                              Based on Essentiality Analysis.
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  1         85.   Similarly, the next set of results from Table 6 and Figures 10A and
  2 10B below (on the following pages) show the results for 4G UE Families.
  3 Ericsson’s essentiality ratio for 4G is 34.6%—just below the corresponding overall
  4 industry average of 35.7% for 4G-related UE Families.
  5
  6          Table 6 (PDX 46): Essentiality Ratio Analysis of 4G UE Families.
  7                                                                            Estimated
                            Families
  8                                    Families Essential Essentiality          Essential
          Company           Declared
                                      Evaluated Families     Ratio             Families by
  9                         Essential
                                                                              Extrapolation
 10   QUALCOMM                654        218           76         34.9%             228
 11   SAMSUNG                 649        216           57         26.4%             171
 12   NOKIA                   414        138           58         42.0%             174
      GOOGLE                  321        107           21         19.6%             63
 13
      ERICSSON                311        104           36         34.6%             108
 14   LG                      293        98            55         56.1%             164
 15   INTERDIGITAL            286        95            40         42.1%             120
 16   NTT                     205        68            24         35.3%             72
      HUAWEI                  191        64            26         40.6%             78
 17
      SHARP                   145        48            18         37.5%             54
 18   PANASONIC               143        48            12         25.0%             36
 19   BLACKBERRY              132        44            23         52.3%             69
 20   APPLE                   118        39             8         20.5%             24
      NEC CORP                109        36            14         38.9%             42
 21
      TEXAS
                               94        31            18         58.1%              55
 22   INSTRUMENTS
      OTHERS                  959        319          112         35.1%             337
 23
      ALL                    5,024      1,673         598         35.7%            1,796
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  1        86.   The pie chart in Figure 10A below depicts the top 15 patent holders of
  2 declared-essential UE Families for 4G based on the Patent Census.
  3
  4       Figure 10A (PDX 47): Top 15 Holders of Declared-Essential UE Patent
  5                         Families for 4G Based on Patent Census.
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  1        87.    The pie chart in Figure 10B below depicts the top 15 patent holders of
  2 essential UE Families for 4G only. Ericsson’s share of essential UE Families
  3 remains nearly unchanged at 6% for 4G based on the Industry-Wide Essentiality
  4 Analysis. Given that Ericsson’s essentiality ratio is close to that of the overall
  5 industry, this result is expected.
  6
  7       Figure 10B (PDX 48): Top 15 Holders of Declared-Essential UE Patent
  8                    Families for 4G Based on Essentiality Analysis.
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  1 V.      CONCLUSION
  2         88.   Based on my active involvement in and oversight of the Industry-Wide
  3 Essentiality Analysis, it is my opinion that the analysis itself as well as its results are
  4 both technically sound and reliable. I calculated an accuracy rate for the Industry-
  5 Wide Essentiality Analysis based on my personal review and analysis of 442 (17%)
  6 of the 2,600 patent families Concur IP analyzed. In addition to the strict instructions
  7 I provided Concur IP regarding neutrality, the high percentage and directional
  8 characteristics of this accuracy rate confirm my opinion that the analysis above is
  9 accurate and also neutral with respect to patent holders, including Ericsson. The
 10 Industry-Wide Essentiality Analysis shows that Ericsson’s proportional shares of
 11 actually essential UE Families has declined from 10% for 2G to 7% for 3G, and has
 12 further declined to 6% for 4G.
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    1              I declare under penalty of perjury under the laws of the United States of
   2 America that the foregoing is true and correct, and that I executed this Witness

   3 Declaration   at.1>Alll'7 Cl/ 'iI6J S?, '11,.Slf .
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                                                             Date Executed
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                                 #:94125



  1          TABLE OF EXHIBITS CITED IN WITNESS DECLARATION
  2
  3     Exhibit No.                               Description
       Ex. 223        ETSI Rules of Procedure, 11/18/15, Annex 6: ETSI Intellectual
  4
                      Property Rights Policy, pp. 36-47
  5    Ex. 224        ETSI Guide on Intellectual Property Rights, pp. 51-70 (IPRs),
                      Version #94, Sep. 19, 2013
  6
       Ex. 551        Document titled "Protocol for Essentiality Analysis"
  7    Ex. 1035       "Evaluation of LTE Essential Patents Declared to ETSI," by Cyber
  8                   Creative Institute, June 2013
       Ex, 1040       Cyber Creative Institute publication titled "Evaluation of LTE
  9                   Essential Patents Declared to ETSI, Ver. 1.0" dated Dec. 2011
 10    Ex. 1279       3GPP TS 25.212 V6.5.0 (2005-06) Technical Specification
       Ex. 1280       “Feature Clean Up, Way Forward,” TSG-RAN Meeting #27, Mar.
 11                   9-11, 2005, RP-050144
 12    Ex. 1281       3GPP TS 25.212 V6.4.0 (2005-03) Technical Specification
       Ex. 1282       3GPP TSG-RAN1 Meeting #41, May 9-13, 2005, Tdoc R1-050525
 13
       Ex. 1286       U.S. Patent No. 351,347
 14    Ex. 1287       EP No. 932,141
       Ex. 1320       U.S. Patent No. 5,883,899
 15
       Ex. 1322       ETSI TS 136 213 V12.7.0 (2015-10)
 16    Ex. 1336       Spreadsheet titled "Census"
 17    Ex. 1457       ETSI IPR Information Statement and Licensing Declaration by
                      Alcatel dated 4/26/11
 18    Ex. 1579       Expert/Consultant Curriculum Vitae of Professor Zhi Ding
 19    Ex. 1594       Exhibit C to Expert Report of Zhi Ding: spreadsheet for industry-
                      wide patent essentiality analysis of 2G, 3G, and 4G patents
 20    Ex. 1595       3GPP TS 25.212 V6.0.0 (2003-12) Technical Specification
 21    Ex. 1598       Curriculum Vitae of Sachin Sinha
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  1                            CERTIFICATE OF SERVICE
  2        At the time of service, I was over 18 years of age and not a party to this
    action. I am employed in the County of San Diego, State of California. My
  3
    business address is 12275 El Camino Real, Suite 200, San Diego, CA 92130.
  4
           On January 11, 2017, I caused to be served the PLAINTIFFS’ DIRECT
  5
    EXAMINATION BY DECLARATION FOR EXPERT WITNESS DR. ZHI
  6 DING to all counsel of record by serving true copies of the foregoing document on
    the interested parties in this action as follows:
  7
  8        BY EMAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
    document(s) to the persons at the e-mail addresses listed in the Service List. I did
  9
    not receive, within a reasonable time after the transmission, any electronic message
 10 or other indication that the transmission was unsuccessful.
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      Nicholas Mathews                       Douglas Cawley
 20   nmathews@mckoolsmith.com               dcawley@mckoolsmith.com
 21
           I declare under penalty of perjury under the laws of the State of California
 22 that the foregoing is true and correct.
 23
           Executed on January 11, 2017, at San Diego, California.
 24
 25                      By: /s/ Kristina Grauer
 26                          KRISTINA GRAUER
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                                                         WITNESS DECLARATION OF DR. ZHI DING
